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 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
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 4   Telephone: (559) 497-4000

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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,          )        1:08-cr-0212 OWW
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            )        STIPULATION RE:
                                        )        CONTINUANCE AND ORDER
14   JASDEV SINGH,                      )
                                        )
15                                      )
                    Defendant.          )
16   ___________________________________)

17          Defendant JASDEV SINGH, by and through his attorney, STEPHEN

18   QUADE, and the United States of America, by and through its

19   attorneys, BENJAMIN B. WAGNER, United States Attorney, and KAREN

20   A. ESCOBAR, Assistant United States Attorney, hereby enter into

21   the following stipulation:

22          1.   The parties to the above-captioned matter agree to vacate

23   the January 19, 2010, sentencing date and reset the matter for

24   February 22, 2010, at 9:00 a.m.

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 1        2.   The parties stipulate that the continuance is

 2   necessitated by the defendant’s request for additional time to

 3   prepare a sentencing memorandum.

 4   DATED: January 14, 2010                      Respectfully submitted,

 5                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 6
                                                  By: /s/ Karen A. Escobar
 7                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 8

 9                                                 /s/ Stephen Quade
                                                   STEPHEN QUADE
10                                                 Attorney for Defendant
                                                   JASDEV SINGH
11
                                   O R D E R
12
          Having read and considered the foregoing stipulation,
13
          IT IS THE ORDER of the Court that the current sentencing date
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     of January 19 is hereby vacated and is reset for February 22,
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     2010, at 9:00 a.m.
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     IT IS SO ORDERED.
17
     Dated: January 14, 2010                /s/ Oliver W. Wanger
18   emm0d6                            UNITED STATES DISTRICT JUDGE

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